         Case: 1:20-cv-00156-RP Doc #: 15 Filed: 11/02/20 1 of 1 PageID #: 51




                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                ABERDEEN DIVISION

LAQUAVIOUS SENTREL ROGERS                                                             PLAINTIFF

v.                                                                             No. 1:20CV156-RP

HEAD NURSE JUDY SMITH
MEDICAL
LEE COUNTY                                                                        DEFENDANTS


                                          JUDGMENT

       In accordance with the memorandum opinion entered this day: (1) Defendant “Medical” is

DISMISSED with prejudice from this case, and (2) The plaintiff’s claims regarding denial of medical

care and harsh general conditions of confinement against defendants Head Nurse Judy Smith and Lee

County, Mississippi will PROCEED.

       SO ORDERED, this, the 2nd day of November, 2020.


                                                     /s/ Roy Percy
                                                     UNITED STATES MAGISTRATE JUDGE
